      Case 2:22-cv-00618-RGK-AFM Document 33 Filed 06/30/22 Page 1 of 2 Page ID #:602
 Name and address:
 JEFFER MANGELS BUTLER & MITCHELL LLP
 GREGORY S. CORDREY (Bar No. 190144)
 gcordrey@jmbm.com
 JOSEPH J. MELLEMA (Bar No. 248118)
 jmellema@jmbm.com
 3 Park Plaza, Suite 1100
 Irvine, California 92614-2592
 Telephone: (949) 623-7200; Facsimile: (949) 623-7202

                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
THERABODY, INC., a Delaware                                       CASE NUMBER:
corporation                                                                       2:22-cv-00618-RGK-AFM
                                                   PLAINTIFF(S)
                               v.

TJX COMPANIES, INC., a Delaware                                             REQUEST FOR APPROVAL OF
corporation, and DOES 1 through 10                                        SUBSTITUTION OR WITHDRAWAL
                                                 DEFENDANT(S)                      OF COUNSEL

                                                        INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.
SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Gregory S. Cordrey                                                          CA Bar Number: 190144
Firm or agency: JEFFER MANGELS BUTLER & MITCHELL LLP

Address: 3 Park Plaza, Suite 1100, Irvine, California 92614

Telephone Number: (949) 623-7200                                    Fax Number:    (949) 623-7202
E-mail: gcordrey@jmbm.com
Counsel of record for the following party or parties: Plaintiff Therabody, Inc.




Other members of the same firm or agency also seeking to withdraw:
Stanley M. Gibson (CA SBN 162329) sgibson@jmbm.com; Rod S. Berman (CA SBN 105444) rberman@jmbm.com;
Joseph J. Mellema (CA SBN 248118) jmellema@jmbm.com
G-01 (06/13)                 REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL                      Page 1 of 2
       Case 2:22-cv-00618-RGK-AFM Document 33 Filed 06/30/22 Page 2 of 2 Page ID #:603

SECTION II - NEW REPRESENTATION

        No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
        to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
        party or parties in this case, and who is a member in good standing of the Bar of this Court.
        The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
        proceed pro se, as self-represented litigants.

        The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
        who is a member in good standing of the Bar of this Court:

         Name: Mariel Gerlt-Ferraro                                                       CA Bar Number: 251119
         Firm or agency: PARKER IBRAHIM & BERG LLP

         Address: 695 Town Center Drive, 16th Floor, Costa Mesa, CA 92614

         Telephone Number: (714) 361-9550                                Fax Number:       (714) 784-4190
         E-mail: mariel.gerlt-ferraro@piblaw.com


SECTION III - SIGNATURES

Withdrawing Attorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.


      Date: 06/29/2022                               Signature:

                                                     Name:         Gregory S. Cordrey, Esq.

New Attorney (if applicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.


      Date: 06/29/2022                               Signature:

                                                     Name:         Mariel Gerlt-Ferraro, Esq.

Party Represented by Withdrawing Attorney
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):
                                            substitution of counsel as specified above.
                                            representing myself pro se in this case.


      Date: 06/29/2022                               Signature:

                                                     Name:         Saira Haider

                                                     Title:        Global IP, Lead Counsel

G-01 (06/13)                 REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL                        Page 2 of 2
